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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 NORTHERN DIVISION
                                      ASHLAND

CIVIL ACTION NO. 3:22-CV-00058-GFVT-EBA

WILLIAM A. JONES, et al.,                                                           PLAINTIFFS,

V.                                          ORDER

GEORGETOWN COLLEGE, et al.,                                                      DEFENDANTS.

                                         *** *** *** ***

       W. Eric Branco of Johnson Branco & Brennan, LLP, moves to withdraw as counsel for

Plaintiffs in this action. [R. 81]. As cause, Branco indicates that “an irreconcilable conflict has

arisen . . . which makes continued representation impossible.” [Id.]. Judge Gregory F. Van

Tatenhove referred this matter to the undersigned “to resolve as he deems necessary.” [R. 82].

Accordingly,

       IT IS ORDERED that this matter shall come before the undersigned for a hearing on on

WEDNESDAY, JANUARY 8, 2025, at 1:00 P.M. at the United States Courthouse in

FRANKFORT, Kentucky. Plaintiffs are DIRECTED to personally appear at the hearing.

Counsel and the parties shall be prepared to address the motion to withdraw, the status of the

matter, and future proposed deadlines.

       Signed December 19, 2024.
